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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,


                      Plaintiff,
                                                   Case No. 19-cv-2184 (TJK)
       v.

FACEBOOK, INC.,

                      Defendant.


                        MOTION FOR ADMISSION PRO HAC VICE

       Joshua S. Lipshutz of Gibson, Dunn & Crutcher LLP (the “Movant”) hereby moves this

Court, pursuant to Local Rule 83.2(d), for entry of an order permitting Olivia Adendorff to

appear pro hac vice before this Court in the above-captioned matter as an additional counsel of

record for Facebook, Inc. In support of this motion, the Movant attaches the Declaration of

Olivia Adendorff as Exhibit A.

       Undersigned counsel respectfully requests that the Court grant this motion and enter an

Order for admission of Olivia Adendorff pro hac vice in the above-captioned case. A proposed

order is attached.

Dated: August 2, 2019
                                             Respectfully submitted,


                                               /s/ Joshua S. Lipshutz
                                             Joshua S. Lipshutz (D.C. Bar No. 1005476)
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